Case 2:20-cv-06587-JVS-ADS Document ) Filed 07/28/20 Pagelof1 Page ID #:89

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Erica Reiners CASE NUMBER

2:20-cv-06587 VAP(JCx)

 

 

 

V. PLAINTIFF(S)
TO GENERAL ORDER 19-03
(RELATED CASES)
DEFENDANT(S).
CONSENT

I hereby consent to the transfer of the above-entitled c¢sefo my calendar, pursjiant tq Gen

  
  

elna

July 27, 2020 AH ¥
United States Distyéct Judge

Date

 

DECLINATION

I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth:

 

 

 

 

 

Date United States District Judge

REASON FOR TRANSFER AS INDICATED BY COUNSEL
Case 8:20-cv-00043 JVS(ADSx) and the present case:

 

Arise from the same or closely related transactions, happenings or events; or
Call for determination of the same or substantially related or similar questions of law and fact; or

For other reasons would entail substantial duplication of labor if heard by different judges; or

Involve one or more defendants from the criminal case in common, and would entail substantial
duplication of labor if heard by different judges (applicable only on civil forfeiture action).

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NOTICE TO COUNSEL FROM CLERK
Pursuant to the above transfer, any discovery matters that are or may be referred to a Magistrate Judge are hereby

transferred from Magistrate Judge Chooljian to Magistrate Judge Spaeth

 

On all documents subsequently filed in this case, please substitute the initials JVS(ADSx) after the case number

in place of the initials of the prior judge, so that the case number will read —_2:20-cv-06587 JVS(ADSx) __. This is very

 

important because the documents are routed to the assigned judges by means of these initials

ce: [_] Previous Judge [_] Statistics Clerk
CV-34 (03/19) ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 19-03 (Related Cases)
